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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

             In re:                                                  Chapter 11

             Desolation Holdings LLC, et al., 1                      Case No. 23-10597 (BLS)

                       Debtors.                                      (Jointly Administered)



              NOTICE OF AMENDED 2 AGENDA MATTERS SCHEDULED FOR HEARING ON
                                JULY 12, 2023 AT 1:30 P.M. (ET)


              This hearing will be conducted in person. All parties, including witnesses, are expected to
             attend in person unless permitted to appear via Zoom. Participation at the in-person Court
               proceeding using Zoom is allowed only in the following circumstances: (i) counsel for a
                party or a pro se litigant files a responsive pleading and intends to make only a limited
              argument; (ii) a party or a representative of a party is interested in observing the hearing;
             (iii) a party is proceeding in a claims allowance dispute on a pro se basis; (iv) an individual
             has a good faith health-related reason to participate remotely and has obtained permission
                 from chambers to do so; or (v) other extenuating circumstances that warrant remote
                                    participation as may be determined by the Court.

                                  COURTCALL WILL NOT BE USED FOR THIS HEARING

                                              Register in advance for this meeting:
                                   https://debuscourts.zoomgov.com/meeting/register/vJItd-
                                            GgqzIuG7D0SkLl4E8NMS9sRDXAZvI

                      After registering your appearance by Zoom, you will receive a confirmation email
                                      containing information about joining the hearing.

             YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM OR YOU WILL
                            NOT BE ALLOWED INTO THE MEETING.




         1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
               number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and
               Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle,
               WA 98104.
         2
               Amended items appear in bold.
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         ADJOURNED MATTER

         1.   Debtors’ Motion to Enforce Automatic Stay and Non-Discrimination Provisions of the
              Bankruptcy Code, and for Civil Contempt [(Sealed) D.I. 149; (Redacted) D.I. 152, 6/28/23]

              Response Deadline:                           July 5, 2023 at 4:00 p.m. (ET)

              Responses Received:

              A.     Florida Office of Financial Regulation’s Objection to Debtors’ Motion to Enforce
                     Automatic Stay and Non-Discrimination Provisions of the Bankruptcy Code, and
                     for Civil Contempt; [(Redacted) D.I. 170; (Sealed) D.I. 172, 7/5/23]

              B.     Florida Office of Financial Regulations’ Objection to Debtor’s Motion to Enforce
                     Automatic Stay and Non-Discrimination Provisions of the Bankruptcy Code, and
                     for Civil Contempt [D.I. 174, 7/5/23]

              Related Documents:

              C.     Declaration of David Maria in Support of Debtors’ Motion to Enforce Automatic
                     Stay and Non-Discrimination Provisions of the Bankruptcy Code, and for Civil
                     Contempt [(Sealed) D.I. 150; (Redacted) D.I. 154, 6/28/23]

              D.     Declaration of Patricia B. Tomasco in Support of Debtors’ Motion to Enforce
                     Automatic Stay and Non-Discrimination Provisions of the Bankruptcy Code, and
                     for Civil Contempt [(Sealed) D.I. 151; (Redacted) D.I. 155, 6/28/23]

              E.     Declaration of Steven D. Merriman in Support of Debtors’ Motion to Enforce
                     Automatic Stay and Non-Discrimination Provisions of the Bankruptcy Code, and
                     for Civil Contempt [D.I. 153, 6/28/23]

              F.     Florida Office of Financial Regulation’s Motion for Enlargement of Time to Object
                     to Debtor’s Motion to Enforce the Automatic Stay and Non- Discrimination
                     Provisions of the Bankruptcy code, and For Civil Contempt (Doc. No. 149)
                     [D.I. 164, 7/3/23]

                        i.   Motion for Shortening the Notice Period and Waiving Local Rule 9006-
                             1(c)(II) with Respect to Florida Office of Financial Regulation’s Motion for
                             Enlargement of Time to Object to Debtors’ Motion to Enforce Automatic
                             Stay and Non-Discrimination Provisions for the Bankruptcy Code and for
                             Civil Contempt [D.I. 180, 7/6/23]

                       ii.   Debtors’ Non-Opposition to the Florida Regulations’ Motion for Shortening
                             the Notice Period the Notice Period and Waiving Local Rule 9006-1(c)(II)
                             with Respect to Florida Office of Financial Regulation’s Motion for
                             Enlargement of Time to Object to Debtors’ Motion to Enforce Automatic

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                            Stay and Non-Discrimination Provisions for the Bankruptcy Code, and for
                            Civil Contempt [D.I. 183, 7/7/23]

              G.     Declaration of Brandon Greenberg in Support of Florida Office of Financial
                     Regulations’ Objection to Debtor’s Motion to Enforce Automatic Stay and Non-
                     Discrimination Provisions of the Bankruptcy Code, and for Civil Contempt
                     [(Redacted) D.I. 171, 7/5/23]

              H.     Declaration of Brandon Greenberg in Support of Florida Office of Financial
                     Regulations’ Objection to Debtor’s Motion to Enforce Automatic Stay and Non-
                     Discrimination Provisions of the Bankruptcy Code, and for Civil Contempt
                     [(Sealed) D.I. 173; (Redacted) D.I. 175; 7/5/23]

              I.     Stipulation and Order Adjourning the Hearing on the Debtors’ Motion to
                     Enforce Automatic Stay and Non-Discrimination Provisions of the
                     Bankruptcy Code, and for Civil Contempt [D.I. 186, 7/10/23]

              Status: At the agreement of the parties, this matter is being adjourned to August 16, 2023
                      at 10:00 (ET). A stipulation memorializing this agreement will be filed in advance
                      of the Hearing.

         MATTERS GOING FORWARD

         2.   Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to
              (A) Continue to Operate Their Cash Management System, (B) Honor Certain Pre-Petition
              Obligations Related Thereto, and (C) Continue to Perform Intercompany Transactions,
              (II) Granting Superpriority Administrative Expense Status to Post-Petition Intercompany
              Balances, and (III) Granting Related Relief [D.I. 8, 5/8/23]

              Response Deadline:                          May 31, 2023 at 4:00 p.m.; extended for the
                                                          Office of the United States Trustee

              Responses Received:

              A.     Informal Response from the Securities and Exchange Commission

              B.     Informal Response from the United States Trustee

              Related Documents:

              C.     Interim Order [D.I. 39; 5/10/23]

              D.     Omnibus Notice of First Day Motions and Final Hearing Thereon [D.I. 42; 5/11/23]

              E.     Second Interim Order [D.I. 108, 6/7/23]


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              F.        Third Interim Order [D.I. 160, 6/30/23]

              G.        Supplement to Debtor’s Motion Seeking Entry of Interim and Final Orders
                        (I) Authorizing the Debtors to (A) Continue to Operate Their Cash Management
                        System, (B) Honor Certain Pre-Petition Obligations Related Thereto, and
                        (C) Continue to Perform Intercompany Transactions, (II) Granting Superpriority
                        Administrative Expense Status to Post-Petition Intercompany Balances, and
                        (III) Granting Related Relief [D.I. 181, 7/6/23]

              H.        Declaration of Evan Hengel in Support of Supplement to Debtor’s Motion Seeking
                        Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Continue to
                        Operate Their Cash Management System, (B) Honor Certain Pre-Petition
                        Obligations Related Thereto, and (C) Continue to Perform Intercompany
                        Transactions, (II) Granting Superpriority Administrative Expense Status to Post-
                        Petition Intercompany Balances, and (III) Granting Related Relief [D.I. 182,
                        7/6/23]

              Status:          The Debtors are continuing to work with their Cash Management Banks
                               regarding compliance with section 345(b) of the Bankruptcy Code, however
                               they still need additional time to become compliant. Accordingly, this
                               matter is going forward with respect to the Debtors’ request for a further
                               extension of their deadline to come into compliance with section 345(b) of
                               the Bankruptcy Code.

         3.   Motion Pursuant to Sections 105(a) and 502(c) of the Bankruptcy Code to Estimate
              Contingent and Unliquidated Claims of the Securities and Exchange Commission and
              Grant Related Relief [D.I. 134; 6/16/23]

              Response Deadline:                             June 30, 2023 at 4:00 p.m. (ET); extended for
                                                             the Securities and Exchange Commission to
                                                             July 6, 2023 at 4:00 p.m. (ET)

              Responses Received:

              A.        Objection of the U.S. Securities and Exchange Commission [D.I. 176, 7/6/23]

              Related Documents:

              B.        Reply to Objection of the U.S. Securities and Exchange Commission to Motion
                        Pursuant to Sections 105(a) and 502(c) of the Bankruptcy Code to Estimate
                        Contingent and Unliquidated Claims of the Securities and Exchange
                        Commission and Grant Related Relief [D.I. 189, 7/10/23]




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                       i.   Debtors’ Motion for Entry of an Order Granting Leave and Permission
                            to File Reply in Support of Motion Pursuant to Sections 105(a) and
                            502(c) of the Bankruptcy Code to Estimate Contingent and
                            Unliquidated Claims of the Securities and Exchange Commission and
                            Grant Related Relief [D.I. 188, 7/10/23]

             Status:        This matter is going forward.




                                         [Signature Page Follows]




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             Dated: July 10, 2023              YOUNG CONAWAY STARGATT &
             Wilmington, Delaware              TAYLOR, LLP

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